     Case 2:18-cv-00464-JCM-VCF Document 1 Filed 03/14/18 Page 1 of 22




 1   JAMES E. HARPER
     Nevada Bar No. 9822
 2   TAYLOR G. SELIM
     Nevada Bar No. 12091
 3   HARPER | SELIM
     1707 Village Center Circle, Suite 140
 4   Las Vegas, Nevada 89134
     Phone: (702) 948-9240
 5   Fax: (702) 778-6600
     Email: eservice@harperselim.com
 6   Attorneys for Defendant

 7                                 UNITED STATES DISTRICT COURT

 8                                         DISTRICT OF NEVADA

 9    REBECCCA REYES, an individual;                       CASE NO.:

10                   Plaintiff,
                                                           STATE FARM’S PETITION FOR
11    vs.                                                  REMOVAL

12    STATE FARM MUTUAL AUTOMOBILE
      INSURANCE COMPANY, a foreign
13    corporation; DOES I through X, inclusive; and
      ROE CORPORATIONS, I through X,
14    inclusive,

15                   Defendants.

16
17   TO:    THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT FOR THE

18          DISTRICT OF NEVADA

19          State Farm Mutual Automobile Insurance Company (“State Farm”), by and through its

20   attorneys, HARPER | SELIM, hereby removes this action to the United States District Court for the

21   District of Nevada.

22          The basis of removal is as follows:

23          1.      This Court has original jurisdiction over the subject matter of this action under the

24   provisions of 28 U.S.C. § 1332 in that there is complete diversity between the parties and more than

25   $75,000 in controversy, exclusive of interest and costs.

26          2.      State Farm, is an Illinois corporation with its principal place of business in that state,

27   and is authorized to transact insurance under the laws of the State of Nevada. State Farm is a


                                                       1
     Case 2:18-cv-00464-JCM-VCF Document 1 Filed 03/14/18 Page 2 of 22




 1   defendant in the above-entitled action now pending in the District Court, Clark County, Nevada,

 2   Case No. A-18-768375-C, Dept. XXIV. It is alleged in the complaint that the Plaintiff, Rebecca

 3   Reyes (hereinafter “Plaintiff”), is a resident of the State of Nevada.

 4          3.      With respect to the amount in controversy, the allegations in the Complaint coupled

 5   with the documents contained in the claims file establish an amount in controversy in excess of

 6   $75,000. For instance, the claims file documents, which are incorporated in full by this reference,

 7   show that Plaintiff qualifies as an insured under a State Farm automobile policy with underinsured

 8   motorist (“UIM”) benefits of $100,000 per person, per accident. According to the Complaint

 9   Plaintiff has incurred damages in medical bills, medication, therapy, emotional trauma, mental

10   anguish, and pain and suffering in excess of $79,000 that she attributes to the subject accident and

11   Plaintiff has demanded payment of her entire $100,000 UIM policy limits. As of the date of this

12   Notice of Removal, State Farm has not paid any UIM benefits to Plaintiff; therefore, from a

13   contractual standpoint, alone, there is $100,000 in controversy. The Complaint, moreover, seeks

14   general damages; punitive damages; treble damages; interest; and for such other relief as the Court

15   deems just and proper. The file materials, coupled with the allegations of the Complaint, therefore,

16   establish that the amount in controversy is above the $75,000 jurisdictional threshold. See e.g.,

17   Hunter v. United Van Lines, 746 F.2d 635 (9th Cir. 1984) (holding that in cases involving a single

18   plaintiff, the aggregate value of the plaintiff’s claims may be used to meet the $75,000 amount in

19   controversy requirement); Everett v. Verizon Wireless, Inc., 460 F.3d 818 (6th Cir. 2006); Long John

20   Silver’s, Inc. v. DIWA III, Inc., 650 F.Supp.2d 612 (E.D. Ky. 2009); Iglesias v. Mutual Life Ins. Co.,

21   918 F.Supp. 31 (D. P.R. 1996).

22          In addition, this Court may also consider insurance bad faith verdicts in Nevada as further

23   evidence in establishing the requisite amount in controversy. McCaa v. Mass. Mut. Life Ins. Co., 330

24   F. Supp. 2d. 1143 (D. Nev. 2004). Representative verdicts include: Tracy v. American Family, 2:09-

25   cv-01257-GMN-PAL (in a September 2010 insurance bad faith case, the jury just awarded $50,000

26   for breach of contract, and then awarded an additional $150,000 in “general damages” for violation

27   of NRS 686A.310; no award for punitive damages); Republic Ins. Co. v. Hires, 107 Nev. 317 (1991)


                                                       2
     Case 2:18-cv-00464-JCM-VCF Document 1 Filed 03/14/18 Page 3 of 22




 1   (in an insurance bad faith case, the jury awarded $450,000 for compensatory damages and $22.5

 2   million for punitive damages); Guaranty Nat’l v. Potter, 112 Nev. 199 (1996) (in an insurance bad

 3   faith case, the jury awarded $75,000 for general compensatory damages even though the insureds

 4   were “out-of-pocket” only $4,000; and awarded punitive damage award of $1,000,000); Albert H.

 5   Wholers & Co. v. Bartgis, 114 Nev. 1249 (1998) (in an insurance bad faith case, the jury awarded

 6   $8,757 for “out-of-pocket” damages; $750,000 for general damages; and $7,500,000 in punitive

 7   damages against the insurance company); Merrick v. Paul Revere Life, 594 F. Supp. 2d 1168 (D.

 8   Nev. 2008) (in an insurance bad faith case, the jury awarded $30,000,000 in punitive damages).

 9   When all of this evidence is taken together, it is clear that the amount in controversy exceeds

10   $75,000, and that the requirements set forth in 28 U.S.C. § 1332 have been met. As such, removal to

11   federal court based upon diversity jurisdiction is appropriate.

12          4.      The Notice of Removal is timely. Service of the complaint was effected on State

13   Farm via the Nevada Division of Insurance on February 8, 2018 and State Farm was notified of that

14   service on February 13, 2018. Pursuant to 28 U.S.C. § 1446 (b)(3), State Farm now timely removes

15   the action to the United States District Court for the District of Nevada.

16          5.      A copy of the Complaint, Summons, and Affidavit of Service are attached hereto as

17   Exhibit “A.”

18          6.      State Farm has concurrently filed a copy of this Petition for Removal with the Clark

19   County District Court Clerk, and has served a copy of this upon Plaintiff.

20          Based on the foregoing, State Farm removes the above action now pending in the Eighth

21   Judicial District Court, Case No. A-18-768375-C, Dept. XXIV, to this Court.

22          DATED this 14th day of March 2018.
                                                           HARPER | SELIM
23
24                                                         ________________________________
                                                           JAMES E. HARPER
25                                                         Nevada Bar No. 9822
                                                           TAYLOR G. SELIM
26                                                         Nevada Bar No. 12091
                                                           1707 Village Center Circle, Suite 140
27                                                         Las Vegas, NV 89134
                                                           Attorneys for Defendant

                                                      3
     Case 2:18-cv-00464-JCM-VCF Document 1 Filed 03/14/18 Page 4 of 22




 1                                    CERTIFICATE OF SERVICE

 2          Pursuant to Rule 5(b) of the Nevada Rules of Civil Procedure, I hereby certify under penalty

 3   of perjury that I am an employee of HARPER | SELIM and that on the 14th day of March 2018, the

 4   foregoing STATE FARM’S PETITION FOR REMOVAL was served upon the parties via the

 5   Court’s e-Filing and service program as follows:

 6                                        Jerome R. Bowen, Esq.
                                           Daniel P. Nubel, Esq.
 7                                       BOWEN LAW OFFICES
                                    9960 W. Cheyenne Avenue, Suite 250
 8                                        Las Vegas, NV 89129
                                           Attorney for Plaintiff
 9
10
                              _______________________________________
11                                         An Employee of
                                          HARPER | SELIM
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27


                                                    4
Case 2:18-cv-00464-JCM-VCF Document 1 Filed 03/14/18 Page 5 of 22




             Exhibit “A”
                   Case 2:18-cv-00464-JCM-VCF Document 1 Filed 03/14/18 Page 6 of 22




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 17795975
Notice of Service of Process                                                                            Date Processed: 02/21/2018

Primary Contact:           State Farm Enterprise SOP
                           Corporation Service Company- Wilmington, DELAWARE
                           251 Little Falls Dr
                           Wilmington, DE 19808-1674

Entity:                                       State Farm Mutual Automobile Insurance Company
                                              Entity ID Number 3461675
Entity Served:                                State Farm Mutual Automobile Insurance Company
Title of Action:                              Rebecca Reyes vs. State Farm Mutual Automobile Insurance Company
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Contract
Court/Agency:                                 Clark County District Court, Nevada
Case/Reference No:                            A-18-768375-C
Jurisdiction Served:                          Nevada
Date Served on CSC:                           02/20/2018
Answer or Appearance Due:                     20 Days
Originally Served On:                         NV Division of Insurance 02/08/2018
How Served:                                   Certified Mail
Sender Information:                           Jerome R. Bowen
                                              702-240-5191

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
         Case 2:18-cv-00464-JCM-VCF Document 1 Filed 03/14/18 Page 7 of 22
~BRIAN SANDOVAL                                                                     C.J. MANTHE
     Governor
                                       STATE OF NEVADA                                 Director

                                                                              BARBARA D. RICHARDSON
                                                                                    Commissioner




                            DEPARTMENT OF BUSINESS AND INDUSTRY
                                    DIVISION OF INSURANCE
                                    3300 West Sahara Avenue, Suite 275
                                       Las Vegas, Nevada 89102-3200
                                 (702) 4864009    •    Fax (702) 486-4007
                                           Website: doi.nv.gov
                                        E-mail: insinfo@doi.nv.gov
  February 13, 2018

  State Farm Mutual Automobile Insurance Company
  c/o CSC Services of Nevada, Inc.
  2155 Renaissance Dr., Ste. B
  Las Vegas, NV 89119-6727

  RE:    Rebecca Reyes vs. State Farm Mutual Automobile Insurance Company, et al.
         District Court, Clark County, Nevada
         Case No. A-18-768375-C

  Dear Sir or Madam:

         Enclosed please find the following documents: Summons and Complaint. These
  documents have been served upon the Commissioner of Insurance as your attorney for service of
  process on February 8, 2018.

          The appropriate action should be taken immediately, as you may only have 30 days from
  the date of this service to respond.

         If you have any questions regarding this service, please advise.

                                                 Sincerely,

                                                 BARBARA D. RICHARDSON
                                                 Commissioner of Insurance


                                        By:
                                                 RHONDA KELLY
                                                 Service of Process Clerk

  Enclosures

  c:     Daniel P. Nubel, Esq.
           Case 2:18-cv-00464-JCM-VCF Document 1 Filed 03/14/18 Page 8 of 22
0




                                                PROOF OF SERVICE

                  I hereby declare that on this day I served a copy of the Summons and Complaint upon

           the following defendant in the within matter, by shipping a copy thereof, via Certified mail,

    4      return receipt requested, to the following:

    5                     State Farm Mutual Automobile Insurance Company
                          c/o CSC Services of Nevada, Inc.
    6                     2155 Renaissance Dr., Ste. B
                          Las Vegas, NV 89119-6727
    7                     CERTIFIED MAIL NO. 7016 3010 0000 0486 2855

     8            1 declare, under penalty of perjury, that the foregoing is true and correct.

     9             DATED this 13th day of February, 2018.

    10 I


    ll


    12                                                           RHONDA KELLY
                                                                 Employee of the State of Nevada
    13                                                           Department of Business and Industry
                                                                 Division of Insurance
    14


    15     RE:     Rebecca Reyes vs. State Farm Mutual Automobile Insurance Company, et al.
                   District Court, Clark County, Nevada
    16             Case No. A-18-768375-C

    17
                                                                         Cfofn nf A I eVAftE,, nw;^inn
                                                                                                       of In.^,urnnce
    18                                                                   This documeri, on which this certificate
                                                                         is stamped is a full, true and correct
                                                                         copy of the original.
    19


    20
                                                               Date:   a215)             By:
    21


    22


    23

    24

    25


    26

    27


    28
           Case 2:18-cv-00464-JCM-VCF Document 1 Filed 03/14/18 Page 9 of 22
BR[AN SANDOVAL                                                                                           C.J. ~~tANTHE
                                          STATE OF NEVADA                                                   Dirt•t-tor
      covernor


                                                                                                    BARBARA D. RICHARDSON
                                                                                                         Convnis.:ioner
                                                 ~?:'~.:~''.,;`..; . •r~
                                                [.: .
                                                 •l '



                                                        • '1E l'~\P~ •




                               DEPARTMENT OF BUSINESS AND INDUSTRY
                                      DIVISION OF INSURANCE
                                      3300 West Sahara Avenue, Suite 275
                                         Las Vegas, Nevada 89102-3200
                                   (702) 486-4009    •     Fax (702) 486-4007
                                               Website: doi.nv.;ov
                                           E-i»ail: insinfo «doi.m'.aov
 February 13, 2018

 Daniel P. Nubel, Esq.
 BOWEN LAW OFFICES
 9960 W. Cheyenne Ave., Ste. 250
 Las Vegas, NV 89129

 RE:       Rebecca Reyes vs. State Farm Mutual Automobile Insurance Company, et al.
           District Court, Clark County, Nevada
           Case No. A-18-768375-C

 Dear Mr. Nubel:

        The Division received the service of process documents on February 8, 2018, regarding
 the above-entitled matter. Service has been completed on State Farm Mutual Automobile
 Insurance Company this date and enclosed are the following:

            1.     A copy of our letter to State Farm Mutual Automobile Insurance Company dated
                   February 13, 2018;
            2.     A certified copy of the Proof of Service dated February 13, 2018; and
            3.     Your receipt in the amount of $30.00.

       Pursuant to Nevada Revised Statutes (NRS) 680A.260, 685A.200, and 68513.050, all
 documents after initial service of pl-ocess may be served directly to the party.

            If you have any questions regarding this service, please so advise.

                                                                         Sincerely,

                                                                         BARBARA D. RICHARDSON
                                                                         Commissioner of Insurance

                                                         By:             A~~
                                                                         RHONDA KELLY
                                                                         Service of Process Clerk
 Enclosures

 c:         State Farm Mutual Automobile Insurance Company
             Case 2:18-cv-00464-JCM-VCF Document 1 Filed 03/14/18 Page 10 of 22
                                                              Electronically Issued
                                                               2/5/2018 1:21 PM                                      DMre, ,
                                                                                                         FEB 0 8 20 18
                                                                                                     DIVISION OF INSUf2ANCF_
           ~ 1 JERO1vfE R. BOWEN, ESQ.                                                                  STATE OF NEVADA
               Nevada Bar No.4540
             2 DANIEL P. NUBEL, ESQ.
               Nevada Bar No. 13~53
             3 BOWEN LAW OFFICES
               9960 W., Cheyenne Ave., Suite 250
             4 Las Vegas, Nevada 89129
               Telephone: (702)240-5191♦Facsimile: (702) 240-5797
             5 twilcox lvlavvfirin.com
               A ttorneysfor Plainti„Qr
             6
              7                                                       DISTRICT COURT
              8                                                 CLARK COUNTY, NEVADA
              9
             10
                       REBECCA REYES, an individual;                                  Case No.: A-18-768375-C
     o ~ 11                                                                           Dept No.:24
~ N v1                                           Plaintiff,
         o! 12 I       VS.
   joc
~w > ~a 13             STATE ~ARM MUTUAL AUTOMOBILE
             14 ~      INSURANCE COMPANY, a foreign                                   SUMMONS
Q Is ~z~               corporation; DOES I through X, inclusive;
     >ea~.15i          and ROE CORPORATIONS, I through X,
Z c.rt tp o,           inclusive;
 o V >„ 16
~°
pV✓~ 26                                        Defendants.
pq   ~►-~ cv 17

     ~ 0 18
                      TO: State-F*rm Mutual Automobile Insurance Company
             19
                               NOTICEI YOU HAVE BEEN SUED. THE COURT MAY DECIDE AGAINST YOU WITSOUT
            20
                      YOUR BEING HEARD UNLESS YOU RESPOND WPTHIN 20 DAYS. READ THE INFORMATION BELOW.
            21
                               TO THE DEFENDANT: A civil Complaint has been filed by the Plaintiffagainst you for the relief set forth
            22
                      in the Complaint.
            23
                               1. If you intend to defend this lawsuit, within 20 days aRer this Summons is served on you exclusive of the day
           ~24
                      of service, you must do the following:
            25
                                          a. Filb with the Clerk of the Court, whose address is shown below, a formal written response to the
            26
                      Complaint in accordance with the rules of the Court.
            27
                                          b. SeTve a copy of your response upon the attorney whose name and address is shown below.
                  I             ,




                                                              Case Number. A-18-768375-C
              Case 2:18-cv-00464-JCM-VCF Document 1 Filed 03/14/18 Page 11 of 22




               1               2. Unless you respond, yoar default will be ent,ered upon application of the plaintiff and this Court may enter
                                               ;
               2    a judgment against yon for the relief demanded in the Complaint, which could result in the taldng of money or property

               3    or other relief requested in the Complaint

               4               3. If you intend to seek the advice of an attomey in this matter, you should do so promptly so that yourresponse

               5 may be filed on time.
               6 Issued at direction of ~
                                         ,
                                                                                                                       ,. . .
               7.
                                                    N`                                 B ~~Jesefinaan  _ Ju
                                                                                                    ,Sa;n 2/6/2018
               8 JER       R BO         , ESQ.                                                'r CLEI'.I{ UF.,THE CflURT                      Date
                  Nevada Bar No. 4540.                                                        r f Count;o Courtb'ouse '
               91 DANIEL NUBEL, ESQ.                                                         ` 200 I.ewis Avenue`
                  Nevada Bar No. 13553                                                            I,as Vegas, Nevada $9155
              10' 9960 W. Cheyeane Ave., Suite 250
                  Las Vegas, Nevada 89129
              11 Attomey for Plaintiffs:
     N !~
                    NOTE: Whep satviee ia by publication, add a brief statement of the object of the act➢on. See Ruks of Civil Procaduie, Rule 4(b).
W    N N O 121
                                                                               .                                                                       I
     > e7N
Gz, w„°O 0 13
              14                               ~                    .
~ = az~"
       ¢
     qC 15
z c.~
         16
pq   ~►-1;N 17
     ~ O
       ~ 18
              19
              20
              21
              22
              23
              24
              25
              26
              27
          ~
                                                                                   Page 2 of 2
     Case 2:18-cv-00464-JCM-VCF Document 1 Filed 03/14/18 Page 12 of 22
                                                                                Electronically Filed
                                             D)                                 1/25/2018 10:08 AM
                                                                                Steven D. Grierson
                                                                           w    CLERV OF THE CC
 1       JEROME R. BOWEN, ESQ.                    LES    ,8 `0 ~$ ~ ±                            1i
         Nevada Bar No.4540                                                "    okoo-A
                                                  DIVISION OF IN:~~~ , o~ ~
                                                                 .~ '~
 2     I DANIEL P. NUBEL, ESQ .              STATF OF NEVA~J~!             ~
       ' Nevada Bar No. 13553
 3       BOWEN LAW OFFICES
         9960 W. Cheyenne Ave., Suite 250
 4       Las Vegas, Nevada 89129
         Telephone: (702)240-5191+Facsimile: (702) 240-5797
 5       twilcox(cr~,lvlawfirm.com
         Attorneys for Plaintiff
 6

 7                                                DISTRICT COURT
 8                                        CLARK COUNTY, NEVADA
 9

10
         REBECCA REYES, an individual;                          Case No.: A-18-768375-C
11                                                              Dept No.: Department 24
                            Plaintiff,
12
                                                                COMPLAINT
13
         STATE FARM MUTUAL AUTOMOBILE
14       INSURANCE COMPANY, a foreign ARBITRATION EXEMPTION CLAIMED
         corporation; DOES I through X, inclusive; Declaratory Relief Requested
15 I     and ROE CORPORATIONS, I through X,
         inclusive,
16

17                         Defendants.

18
               Plaintiff, REBECCA REYES ("Plaintiff' or "Ms. Reyes"), by and through her counsel,
19
        BOWEN LAW OFFICES, complains and alleges as follows:
20 .
                                           PARTIES & JURISDICTION
21
               1.     That at all times relevant hereto, Plaintiff, Rebecca Reyes, was a resident of Clark
22
        County, State of Nevada.
23 '
               2.     That all of the material facts and circumstances that give rise to the subject lawsuit
24
        occurred in Clark County, State of Nevada.
25
               3.     Plaintiff is informed and believes, and upon that information and belief, alleges that
26
        at all times relevant herein, Defendant State Farm Mutual Automobile Insurance Company ("State
27
        Farm" or "Defendant") is a foreign corporation of Clark County, Nevada. Further, Defendant State
28




                                         Case Number: A-18-768375-C
                 Case 2:18-cv-00464-JCM-VCF Document 1 Filed 03/14/18 Page 13 of 22




            1     Farm committed actionable conduct in the State of Nevada and has sufficient minimum contacts

            2     within the State of Nevada to subject itself to the jurisdiction of the courts of the State of Nevada.

            3            4.      The Defendants designated as DOES I through X, inclusive, are owners, employers,
            4     employees, agents, assigns, partners, predecessors or successors in interest, and/or contractors of

            5     Defendant and/or are other individuals who were involved in the acts which form the basis of the
            6     allegations and claims contained herein. The true and correct names of said Defendants are currently
            7     unknown to Plaintiff who therefore sues said Defendants by said fictitious names. When the true
            8     identities of said Defendants are ascertained, Plaintiff will ask leave of this Court to amend her I

            9     Complaint to insert such names.
            10            5.      The Defendants designated as ROE Corporations I through X, inclusive, are the
   o~       11    owners, employers, general contractors or contractors, assignors, parent or subsidiary business
   N   ~
        0   12    entities, partner, and/or predecessor or successor entities of Defendant, and each of them, or are
U ~0
~~~~ o      13    otherwise somehow responsible for the acts which form the basis of the allegations and claims
 a ,.t,~
~1 0 ~~~    14    contained herein. The true and correct identities of said business entities and/or corporations are at
  N z
            15    this time unknown to Plaintiff who therefore sues said business entities and/or corporations under
z~~~~
3
W v U>,;,   16    such fictitious names. When the true names of said Defendants are ascertained, Plaintiff will ask
       ~o
            17    leave of this Court to amend her Complaint to insert such names.
   ~   N
            18            6.      Pursuant to NRCP 10 (a) and Nerenberaer Hercules-Weke GMBH v. Virosiek 107
            19    Nev. 873, 822 P.2d 1100 (1991), the identity of defendants designated as DOE Defendants and/or
            20    ROE CORPORATIONS I through X are unknown at the present time; however, it is alleged and
            21    believed these defendants were involved in the initiation, approval, support or execution of the
            22    wrongful acts upon which this litigation is premised, or of similar actions directed against Plaintiff
            23    about which they are presently unaware. These defendants are in some manner negligently,
            24    vicariously or statutorily responsible for the events and happenings referred to and caused damages
            25    proximately to Plaintiff herein. When the specific identities of these parties are revealed through the
            26    course of discovery, the DOE/ROE appellation will be replaced to identify these parties by their true
            27    names and capacities.
            28

                                                               Page 2 of 11
     Case 2:18-cv-00464-JCM-VCF Document 1 Filed 03/14/18 Page 14 of 22




             7.      Venue is proper in this Court as the automobile accident that is the subject of this
 2    lawsuit occurred in Clark County, Nevada. Plaintiff, who was injured in said accident, is a resident
 3    of Las Vegas, Nevada. Defendant State Farm, the insurer of of both the non-party tortfeasor and
 4    Plaintiff, engaged in the transaction of business which involved written insurance contracts issued
 5    in Nevada to be performed in Nevada and thus jurisdiction and venue are properly before this Court.
 6

 7                                      GENERAL ALLEGATIONS
 8           8.      At all relevant times, there was in full force and effect a automobile insurance policy
 9    (the "Policy") between Plaintiff and Defendant whereby Defendant agreed to provide Plaintiff with,
10 among other coverages, One-Hundred Thousand Dollars ($100,000.00) in underinsured motorist
11    protection benefits. Plaintiff paid her premiums in reliance of receiving this underinsured motorist
12 protection if she would so need it in the future.
13            8.     On or about February 23, 2011, Plaintiff was involved in a serious motor vehicle
14    collision as the sole result of the negligence of a non-party tortfeasor, an underinsured motorist per
15 i the Policy. The Policy was in full force on February 23, 2011, the date of the collision.

16            As the sole result of the negligence of a non-party tortfeasor, Ms. He-Sun Mogielnicki, an
17 ~ underinsured motorist per her Policy, Mr. Spillett incurred damages in medical bills, medication,

18    therapy, emotional trauma, mental anguish, and pain and suffering in excess of $79,000.00.
19            9.     As a result of the aforementioned accident with the third-party at fault driver,
20 Plaintiff demanded and settled for policy limits of $25,000.00 from Ms. Mogielnick for her State
21    Farm policy. However, the policy proceeds were inadequate for his incun ed damages.
22            10.    Prior to the subject collision, Plaintiff purchased an automobile insurance policy
23    (the "Policy") from State Farm in Nevada which provided various forms of motor vehicle coverage,
24    including benefits for compensation resulting from injuries and damages caused by underinsured
25 I motorists. At the time of the subject collision, Plaintiff's Policy issued by Defendant State Farm,

26 I and/or DOES I through X, and Roe Corporations XI through XX, was in full force and effect.

27            11.     Following the collision, Plaintiff timely presented Defendant with all of her accident-
28 I, related medical records and bills, and on or about December 19, 2013, Plaintiff made a request for


                                                  Page 3 of 1 I
                 Case 2:18-cv-00464-JCM-VCF Document 1 Filed 03/14/18 Page 15 of 22




            1     contractual underinsured motorist policy benefits from Defendant. In this request, Plaintiff informed
            2     Defendant that the non-party tortfeasor's underlying insurance limits were too low to fully
            3     compensate Plaintiff for her injuries.
            4            12.     In or about December 19, 2014, State Farm substantially undervalued Plaintiff's
            5     claim and failed to make adequate payment to Plaintiff as was required under the UIM insurance
            6     policy. State Farm's refusal to make adequate payment to Plaintiff was made without a reasonable
            7     basis in fact or law. State Farm's refusal to make adequate payment to Plaintiff was made in bad
            8     faith and for the purpose of denying benefits of contract for UIM coverage to Plaintiff. offer to
             9    compensate him for the full extent of his entitled contractual benefits.
            10            13.     State Farm's refusal to make adequate payment to Plaintiff was an unlawful attempt
   o~       11    to force Plaintiff to accept less money than the amount due under the Policy. State Farm's actions
   N   ~
      No    12    herein constitute bad faith insurance practices.
  ca~
r= ~~~ cq   13                                       FIRST CAUSE OF ACTION
wa, > vo
~,o ~ z~    14                                             (Breach of Contract)                                           i
  B
            15            14.     Plaintiff repeats and re-alleges each and every preceding allegation as though fully I
~ v U>',    16    set forth herein.
O 3 ~~
      c~    17            15.     The Policy is and was at all relevant times hereto a valid and enforceable agreement
   ~   N
       ~    18    between Plaintiff and Defendant.
            19            16.     Plaintiff performed all conditions, covenants and promises required to be performed
            20    by her in accordance with the terms and conditions of said Policy.
            21            17.     By the terms of the Policy, Defendants (as well as Doe I-X and Roe Corporations
            22    XI-XX) were obligated to fully compensate Plaintiff for the injuries and damages she sustained by
            23    an underinsured motorist in the subject motor vehicle collision, up to the limits of her coverage.
            24    Defendant failed to perform this obligation under the Policy, despite Plaintiff timely providing
            25    Defendant with all of her relevant medical records and bills. Defendant failed to perform this
            26    obligation under the Policy, despite Plaintiff timely providing Defendant with all of his relevant
            27    medical records and bills. Defendants breached the agreement by, inter alia, refusing to properly
            28    compensate Plaintiff.


                                                               Page 4 of 11
                   Case 2:18-cv-00464-JCM-VCF Document 1 Filed 03/14/18 Page 16 of 22




              1               18.   As a direct and proximate cause of Defendants breaches, Plaintiff sustained damages
              2     in excess of the UIM policy limits, including but not limited to interest and other incidental and
              3     foreseeable out-of-pocket expenses, including the need to retain the services of an attorney to obtain
              4     the wrongfully contested and withheld benefits, and the resulting attorney's fees and other costs of
              5     suit, the total amount of which will be subject to proof at the time of trial.
              6               19.   Defendant State Fann's (as well as Doe I-X and Roe Corporations XI-XX) conduct
              7     described herein subjected and continues to subject Plaintiff to cruel and unjust hardship in
              8     conscious disregard to Plaintiff's rights constituting fraud, oppression and malice, entitling Plaintiff
               9    to punitive or exemplary damages in an amount in excess of Fifteen Thousand Dollars ($15,000.00)
              10    sufficient to punish or set an example of Defendant State Farm.
    o~        11                                     SECOND CAUSE OF ACTION
    N    ~
         kn
        No    12        (Contractual and/or Tortious Breach of the Implied Covenant of Good Faith and Fair
f~ m ~ ~ c-1 13                                                    Dealing)
~' Gy >,~o
        co
3~  b~ j~ 14                  20.   Plaintiff repeats and re-alleges each and every preceding allegation as though fully
    ~ zQ
a~~~~" 15           set forth herein.
zvu
~ v u>,       16              21.   The Policy referred to above was contractual, and as such, there existed an implied
O 3 ~~
~q ~ a c~,    17     in law term imposing an obligation of good faith and fair dealing. Said term obligates the Defendant
    ~    N
              18    to refrain from taking any action which would otherwise interfere with the lawful and legal rights
              19     of Plaintiff to carry out the terms of the agreements. Further, said term requires that Defendant
              20     refrain from carrying out any act which would otherwise cause undue hardship on the Plaintiff.
              21              22.   Defendant State Farm (as well as Does I-X and Roe Corporation I-X) breached the
              22     covenant of good faith and fair dealing by failing to fully compensate Plaintiff for the injuries and
              23     damages she sustained by an underinsured motorist in the subject motor vehicle collision, up to the
              24     limits of her coverage.
              25              23.   As a direct and proximate cause of Defendant's conduct, Plaintiff has been damaged
              26     in an amount in excess of Fifteen Thousand Dollars ($15,000.00) and other incidental and
              27     foreseeable out-of-pocket expenses the total amount of which will be subject to proof at the time of
              28     trial.


                                                                 Page 5 of 11
                     Case 2:18-cv-00464-JCM-VCF Document 1 Filed 03/14/18 Page 17 of 22




                1             24.     An additional result of Defendant State Farm's (as well as Does I-X and Roe
                2     Corporation I-X) conduct is that it has caused Plaintiff much anxiety, worry, and stress. Plaintiff has
                3     been required to retain legal counsel to prosecute this action. Plaintiff is therefore entitled to recover
                4     reasonable attorney's fees, costs and expenses incurred in this action.
                5             25.     Defendant State Farm's (as well as Doe I-X and Roe Corporations XI-XX) conduct
                6     described herein subjected and continues to subjec.t Plaintiff to cruel and unjust hardship in I
                7     conscious disregard to Plaintiff's rights constituting fraud, oppression and malice, entitling Plaintiff
                8     to punitive or exemplary damages in an amount in excess of Fifteen Thousand Dollars ($15,000.00)
                9     sufficient to punish or set an example of Defendant State Farm.
                10                                       THIRD CAUSE OF ACTION
    o~          11                                  (Breach of Fiduciary Duty / Bad Faith)
    N     ~
     .2 N o     12    THIRD CAUSE OF ACTION
V cl
~" N v'~ c~
ra
                13    (Breach of Fiduciary Duty / Bad Faith)
 ' Q,, > -d 0
~ b~~~          14            26.     Plaintiff repeats and re-alleges each and every preceding allegation as though fully
  N z
a •— ~~~"       15    set forth herein.
~ v U j~",      16            27.     Defendant State Farm, and/or its agents, also breached the duty known as the "special
       ~o
p~q o ►-~ N     17    relation duty" owed by insurer to its insured as well as the fiduciary duty owed by an insurance
    ~     N
    a`    ~     18    carrier to its own insured constituting the tort of insurance bad faith, in failing to reasonably,
                19    properly, fairly, and timely evaluate and tender reasonable underinsured motorist policy benefits
                20    owed to Plaintiff as provided for by the policy of insurance.
                21            28.      As a proximate result of Defendant State Farm and its agents' breach of the special
                22    and fiduciary duty owed to Plaintiff, Plaintiff has suffered financial loss, anxiety, wony, mental and
                23     emotional distress and other incidental damages all to Plaintiff's general damage in an amount in
                24     excess of Fifteen Thousand Dollars ($15,000.00).
                25            29.      Defendant State Farm's (as well as Doe I-X and Roe Corporations XI-XX) conduct
                26    described herein subjected and continues to subject Plaintiff to cruel and unjust hardship in
                27    conscious disregard to Plaintiff's rights constituting fraud, oppression and malice, entitling Plaintiff
                28    to punitive or exemplary damages in an amount in excess of Fifteen Thousand Dollars ($15,000.00)

                                                                    Page 6 of 11
                      Case 2:18-cv-00464-JCM-VCF Document 1 Filed 03/14/18 Page 18 of 22




                 1     sufficient to punish or set an example of Defendant State Farm.
                 2

                 3                                       FOURTH CAUSE OF ACTION
                 4                    (Violation of the Unfair Claim Practices Act - Unfair Trade Practices)
                 5             30.       Plaintiff repeats and re-alleges each and every preceding allegation as though fully
                 6     set forth herein.
                  7            31.       Defendant State Farm is a member of the class of entities intended to be regulated by
                 8     Nevada Revised Statutes 686A.310, et seq. Plaintiff is a member of the class of persons protected
                 9      by Nevada Revised Statutes 686A.310, et seq.
                 10             32.      Defendants (as well as Does I-X and Roe Corporation I-X), each of them, engaged
      o~         11     in the business of insurance in Nevada is, and at all times mentioned was a member of the class I
      N    ~
W     ~ c,, 0    12     regulated by NRS 686A.310, et. seq. Defendants, each of them, owed a duty to Plaintiff to act fairly
V ~         N
w~~oo N          13     in handling claims as required by NRS 686A.10 and NAC684A.675.
~a > cl,~
~ o~>~           14             33.      Defendants (as well as Does I-X and Roe Corporation I-X) violated their duty to
.
Q
.~ ~~~~"         15     Plaintiff to act fairly in handling claims under NRS 686A.310 and NAC 686A.675 by the conduct
      ON
          ~ v,   16     enumerated herein above, including, but not limited to: wrongfullY contestingthe PolicY~• failing to
0 3 ~~
pq ~ a cq        17     acknowledge and act reasonably and promptly upon communications with respect to the claims
   ~ N C:,
                 18     arising out of the policy of insurance; failing to place Plaintiff s interests on equal ground with their
                 19     own; refusing to pay all sums due to Plaintiff; compelling Plaintiff to institute litigation to recover
                 20     amounts due under the insurance policy and carrying out unfair a.nd deceptive trade practices in the
                 21     business of insurance; violating NRS 686A.310 (b),( c), (d),(1) &(n). By the aforesaid acts and
                 22     omissions, Defendant State Farm has violated its statutory duties contained with Nevada Revised
                 23     Statutes 686A.310, et seq.
                 24             34.      As a proximate result of Defendant State Farm and its agents' breach of its statutory
                 25     duties, Plaintiff has suffered damage in an amount in excess of Fifteen Thousand Dollars
                 26     ($15,000.00).

                 27             35.      Plaintiff has been required to retain legal counsel to prosecute this action. Plaintiff
                 28     is therefore entitled to recover reasonable attorney's fees, costs and expenses incurred in this action.

                                                                     Page 7 of 11
                  Case 2:18-cv-00464-JCM-VCF Document 1 Filed 03/14/18 Page 19 of 22




              1            36.     That as a further proximate result of Defendants' (as well as Does I-X and Roe
              2    Corporation I-X) conduct described herein was intended to cause inj ury to Plaintiff or was despicable
              3    conduct carried on by Defendants, which has been reckless, willful, malicious and/or negligent and
              4    done with a conscious disregard of Plaintiff's rights, subjected Plaintiff to cruel and unjust hardship,
              5    and was intentional misrepresentation, deceit, or concealment of material facts known to Defendants
              6    with the intention, implied or in fact, to deprive, Plaintiff of property, legal rights, or to otherwise
              7    oppress and/or cause injury, under NRS 42.005, thereby entitling Plaintiff to punitive and/or
              8    exemplary damages in an amount appropriate to punish or set an example of Defendants.
              9                                       FIFTH CAUSE OF ACTION
             10                            (Negligent and/or Intentional Misrepresentation)
    o        11            37.     Plaintiff repeats and re-alleges each and every preceding allegation as though fully
    N    ~
W    'No     12    set forth herein.
c~ v'00 cv   13            38.     Defendant State Farm owed a duty to Plaintiff to ensure that the insurance contract '
~ o~~~       14    was generally fit for the ordinary purpose for which it was written and that Defendant would honor '
    y z
a•:3 ~~~'    15    the contract terms when presented with a valid claim.
             16            39.     Defendant State Farm knew or should have known that Defendant would not honor
     2o
~ o a c~~ 17 the terms of the insurance contract prior to selling the Policy to Plaintiff, but negligently and/or
    ~   N
             18    intentionally misrepresented to Plaintiff it would do so.
             19            40.     Plaintiff relied on Defendant's representations when he entered into the insurance
             20    contract, and said representations served as an inducement to enter into said contract.
             21            41.      That by failing to ensure that the insurance contract adequately protected Plaintiff
             22     prior to inducing Plaintiff to enter into the contract, Defendant breached its duty to the Plaintiff.
             23            42.      As a proximate result of Defendant State Farm and its agents' negligent and/or
             24     intentional misrepresentations, Plaintiff has suffered damages in an amount in excess of Fifteen
             25     Thousand Dollars ($15,000.00).
             26
             27
             28

                                                                Page 8 of 1 1
     Case 2:18-cv-00464-JCM-VCF Document 1 Filed 03/14/18 Page 20 of 22




                                          SIXTH CAUSE OF ACTION

PI                                              (Declaratory Relief)

              43.     Plaintiff repeats and re-alleges each and every preceding allegation as though fully
4
      set forth herein.
5
              44.     Defendant State Farm owed Plaintiff the following duties, among others: (a) a duty
6
      to honor the UIM insurance contract for the entire policy duration; (b) a duty to conduct a prompt,
7
      reasonable and diligent investigation of the facts of the case to determine the validity of the claims
8
      made by Plaintiff; © a duty to evaluate the Plaintiffs claims fairly; (d) a duty to attempt in good faith
9
      to effectuate a prompt, fair and equitable settlement of a claim where liability is reasonable clear;
10
      (e) a duty to act promptly and reasonably in settling the claim; (f) a duty not to reject a reasonable
11
      and fair offer of settlement; (g) a duty not to put its insured through unnecessary litigation; (h) a duty
12
      not to put its insured's assets at risk; (i) a duty to refrain from actions that would inj ure the Plaintiff's
13
      insured ability to obtain the benefits of the insurance contract; and (j) a duty of good faith and fair
14
      dealing.
15
              45.      Upon information and belief, the Plaintiffalleges that Defendant State Farm breached
16
      its duties owed to Plaintiff by, among other things: (a) failing to honor the UIM insurance contract;
17
      (b) failing to conduct a prompt, reasonable and diligent investigation of the claims made against
18
      State Farm Insurance; ( c) failing to evaluate the claim fairly; (d) failing to tender the claims; (e)
19
      failing to attempt in good faith to effectuate a prompt, fair and equitable settlement of the claim; (f)
20
      not making any reasonable settlement offers to offer the claims; (g) failing to accept reasonable and
21
      fair offers of settlement; (h) putting its insured, Plaintiff herein, through unnecessary litigation; (i)
22
      putting its insured's personal assets at risk; and (j) failing to pay any reasonable portion of the
23
      insurance coverage to Plaintiff herein.
24
              46.      As a direct and approximate result of State Farm's breaches of its duties that it owed
25
      to its insured, the Plaintiff herein, Plaintiff has been deprived of the benefits to which he was entitled
26
      and for which he bargained in the insurance contract, and was forced to incur expenses to obtain the
27
      benefits to which they were otherwise entitled and Plaintiff has otherwise been damaged in amounts
28

                                                     Page 9 of 1 1
                   Case 2:18-cv-00464-JCM-VCF Document 1 Filed 03/14/18 Page 21 of 22




               1      to be determined at trial. State Farm's actions herein constitute bad faith insurance practices.
               2              47.     A dispute now exists between Plaintiff and Defendants (as well as Does I-X and Roe
               3      Corporation I-X) as to the rights and obligations of the parties concerning the above-mentioned
               4      allegations. Therefore, pursuant to N.R.S. 31.010, et seq., Plaintiff is entitled to have this court enter
               5      a declaratory judgement setting forth the respective rights, duties and obligations of the parties
               6      hereto. The Court should enter declaratory judgment, that Defendants must pay the policy limits to
                      Plaintiff herein, in order to satisfy the damages sustained by Plaintiff in the underlying accident.
                              48.     Plaintiff has been required to retain legal counsel to prosecute this action. Plaintiff I
                                                                                                                        ~
               i
               I is therefore entitled to recover reasonable attorney's fees, costs and expenses incuned in this action '
              10
                                                             PRAYER FOR RELIEF
       o ~ 11
       N ~
         ~                    Wherefore, Plaintiff prays for judgment in his favor and against Defendant (as well as Does
~      ~No 12
          N           I-X and Roe Corporation I-X) as follows:
       _ ooo' 13
w a>dr`
                              1.      For general and special damages in an amount in excess of Fifteen Thousand Dollars
~ 48    ~ jC 14
         zu"          ($15,000.00);
       >, ~ 4 15
        —                     2.      For punitive damages and exemplary damages in an amount in excess of Fifteen
~Uv ~ °'~
        ~ 16
0 3 C-1~              Thousand Dollars ($15,000.00);
        cv 17
   ~ N
   rn                         3.      For declaratory judgment setting forth the rights, duties and obligations of the parties
        6 18
                      under the aforementioned agreements, as well as pay the policy limits to Plaintiff herein.
              19 I
                              4.      For Treble damages;
              20 I
                              5.      For Interest;
              21 '
                     I //
              22 i

              23 I
                    I //
              24 ~
                  ~
              25 I
                    {//
              26 j

              27 I
                              6.      For reasonable attomey's fees and costs; and
              28


                                                                   Page 10 of 1 1
. • I +
                      Case 2:18-cv-00464-JCM-VCF Document 1 Filed 03/14/18 Page 22 of 22
        c



                 1           7.    For such other relief as the Court deems just and proper
                 2           DATED this 'Z3 day of January, 2018.
                 3                                               BOWEN LAW OFFICES
                 4
                                                                    Pa, d       &-4d
                 5                                               JEROME R. BOWEN, E .(SBN 4540)
                                                                 DANIEL P. NUBEL, ESQ. (SBN 13553)
                 6                                               9960 W. Cheyenne Ave., Suite 250
                                                                 Las Vegas, Nevada 89129
                 7                                               Attorneys for Plaintiff
                 8

                 9

                 10
    o       ~ 11
    N       ~
            ~
                 12
wk ~~~cv 13
P;, a >N ca o
     < >~ 14''
    ~ z
z ~~,~~a" 15
a
            ON
~ v U> ~, 16
C)     o
           17
     Cr\ N
            ~ 18

                 19
                 20
                 21
                 22
                 23
                 24
                 25
                 26
                 27
                 28

                                                              Page 11 of 11
